             IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF DELAWARE

In re:                              :   Chapter 11
                                    :
ASHINC CORPORATION, et al.,         :   Case No. 12-11564 (CSS)
                                    :
                    Debtors.        :   (Jointly Administered)
                                    :
CATHERINE E. YOUNGMAN,              :
LITIGATION TRUSTEE FOR ASHINC :
CORPORATION, ET AL., AS             :
SUCCESSOR TO THE OFFICIAL           :
COMMITTEE OF UNSECURED              :
CREDITORS OF ASHINC                 :
CORPORATION, AND ITS                :
AFFILIATED DEBTORS                  :
                                    :
             Plaintiff,             :
                                    :   Adv. Proc. No.: 13-50530 (CSS)
BDCM OPPORTUNITY FUND II, LP        :
BLACK DIAMOND CLO 2005-1 LTD., :
SPECTRUM INVESTMENT                 :
PARTNERS, L.P.,                     :
                                    :
                                    :
             Intervenors,           :
      v.                            :
                                    :
YUCAIPA AMERICAN ALLIANCE           :   Related Docket Nos. 696 and 705
FUND I, L.P., YUCAIPA AMERICAN :
ALLIANCE (PARALLEL) FUND I, L.P., :
                                    :
                                    :
             Defendants.            :
____________________________________:
CATHERINE E. YOUNGMAN,              :
LITIGATION TRUSTEE FOR ASHINC :
CORPORATION, ET AL., TO BDCM        :
OPPORTUNITY FUND II, LP.,           :
BLACK DIAMOND CLO 2005-1            :
LTD., SPECTRUM INVESTMENT           :
PARTNTERS L.P., BLACK               :
DIAMOND COMMERICAL                  :
FINANCE, L.L.C., as co-administrative
                                    :
agent, and SPECTRUM                 :           Adv. Pro. No. 14-50971 (CSS)
COMMERICAL FINANCE LLC,             :
as co-administrative agent          :
                                    :
             Plaintiff,             :
                                    :
v.                                  :           Related docket Nos. 453 and 462
                                    :
YUCAIPA AMERICAN ALLIANCE           :
FUND I, L.P., YUCAIPA AMERICAN :
ALLIANCE (PARALLEL) FUND I, L.P., :
                                    :
             Defendants.            :
____________________________________:

                                     ORDER

      Upon consideration of the Plaintiff’s (“Trustee”) Motion for Summary

Judgment [Adv. Pro. 13-50530 Docket No. 705 (“Estate Claims”); Adv. Pro. 14-

50971 Docket No. 462 (“Lender Claims”)] (“Trustee’s Motion”) and Defendant’s

(“Yucaipa”) Motion for Summary Judgment [Adv. Pro. 13-50530 Docket No. 696;

Adv. Pro. 14-50971 Docket No. 453] (“Yucaipa’s Motion” together with Trustee’s

Motion the “Motions”) each filed on May 1, 2020; the Court having reviewed the

Motions, the responses thereto and the declarations submitted by the parties; and

the Court finding that (1) the Court has jurisdiction over these matters, pursuant

to 28 U.S.C. § 1334; (2) this is a core proceeding, pursuant to 28 U.S.C. § 157(b);

(3) this Court has the judicial power to enter a final order; and (4) notice of the




                                        2
Motion was adequate under the circumstances; and the Court having issued an

Opinion on the date hereof (the “Opinion);

      IT IS HEREBY ORDERED THAT Trustee’s Motion is GRANTED, in part,

and DENIED, in part, as follows:

      1. Trustee’s Motion on Estate Claims 1 (Equitable Subordination) and 2

         (Equitable    Subordination)       and   Lender   Claim    1    (Equitable

         Subordination) is granted, in part, and denied, in part.

      2. Trustee’s Motion on Estate Claim 5 (Breach of Contract) and Lender

         Claim 2 (Breach of Contract) is granted.

      3. Trustee’s Motion on Estate Claims 10 (Constructive Fraudulent

         Transfers),   11   (Constructive     Fraudulent   Transfers),    and   13

         (Disallowance of Claims) are granted.

      4. Trustee’s Motion on Lender Claim 4 (Tortious Interference) is denied.

      IT IS FURTHER ORDERED THAT Yucaipa’s Motion is GRANTED, in part,

and DENIED, in part, as follows:

      1. Yucaipa’s Motion on Estate Claim 3 (Recharacterization) is granted.

      2. Yucaipa’s Motion on Estate Claim 4 (Specific Performance) is granted.

      3. Yucaipa’s Motion on Estate Claim 5 (Breach of Contract) and Lender

         Claim 2 (Breach of Contract) is denied.

      4. Yucaipa’s Motion on Lender Claim 3 (Breach of Duty of Good Faith and

         Fair Dealing) is denied.
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      5. Yucaipa’s Motion on Estate Claim 6 (Specific Performance) is granted.

      6. Yucaipa’s Motion on Estate Claim 7 (Breach of Fiduciary Duty) is

          denied.

      7. Yucaipa’s Motion on Estate Claims 10 (Constructive Fraudulent

          Transfers) and 11 (Constructive Fraudulent Transfers) is denied.

      IT IS FURTHER ORDERED that the parties shall submit a proposed form

of Judgment consistent with the Opinion and Order within 14 days of the date

hereof.




                                        ______________________________
                                        Christopher S. Sontchi
                                        Chief United States Bankruptcy Judge

Date: May 4, 2021




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